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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                C.A. No. 24-cv-20492-ALTMAN



  In re Application of                             :
                                                   :
  PHILIPPE MARTINEZ,                               :
  MSR MEDIA SKN LTD.,                              :
                                                   :
  Applicants, for an Order Pursuant to             :
  28 U.S.C. § 1782 to Conduct Discovery            :
  for Use in Foreign Proceedings.                  :


       RENEWED APPLICATION FOR AN ORDER PURSUANT TO 28 U.S.C. § 1782
          TO CONDUCT DISCOVERY FOR USE IN FOREIGN PROCEEDINGS


         1.      Philippe Martinez and MSR Media SKN Limited (“Applicants”) hereby file their

  Renewed Application for an Order Pursuant to 28 U.S.C. § 1782 to Conduct Discovery for Use in

  a Foreign Proceeding (“Renewed Application”) and respectfully ask this Court to grant the

  Proposed Order attached as Exhibit A to this Renewed Application, which gives Petitioners leave,

  pursuant to 28 U.S.C. § 1782 and Rules 26 and 45 of the Federal Rules of Civil Procedure, to serve

  Bank of America, N.A.; Wells Fargo Bank, N.A.; and JPMorgan Chase Bank, N.A. with the

  subpoenas attached as Exhibit B to this Renewed Application, and in support thereof state as

  follows.

         2.      The requested relief is for the purposes of obtaining necessary discovery in aid of

  two ongoing foreign defamation proceedings (“Foreign Defamation Proceedings”) filed against

  Applicants in the High Court of Justice in the Federation of Saint Christopher and Nevis (“St. Kitts

  and Nevis”).
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           3.       Applicants seek the assistance of this Court to obtain discovery from Bank of

  America, N.A.; Wells Fargo Bank, N.A.; and JPMorgan Chase Bank, N.A. (collectively, the

  “Respondent Banks”).

           4.       Applicants are defendants in pending Foreign Defamation Proceedings, filed by

  (a) Ying Jin (“Foreign Plaintiff Ying Jin”) and Caribbean Galaxy Real Estate Corporation

  (“Foreign Plaintiff Caribbean Galaxy”) and (b) Timothy Harris (“Foreign Plaintiff Harris”)

  (collectively, “Foreign Plaintiffs”). Foreign Plaintiff Ying Jin and Foreign Plaintiff Caribbean

  Galaxy have filed defamation claims against both Applicants, and Foreign Plaintiff Harris has filed

  defamation claims against only Applicant MSR Media SKN Ltd. Foreign Plaintiffs allege that

  Applicant(s) defamed them by making statements about Foreign Plaintiffs’ alleged involvement

  in a corrupt scheme related to the sale of citizenship by investment (“CBI”) units in St. Kitts and

  Nevis.

           5.       Applicants’ tailored requests are set forth in the subpoenas attached as Exhibit B.

  These tailored requests relate to transactions made in U.S. dollars to, from, and through accounts

  held by the Respondent Banks. Upon information and belief, Applicants assert that a group of

  individuals and entities participated in a corrupt scheme related to the sale of CBI units in St. Kitts

  and Nevis, and that transactions furthering the corrupt scheme have passed through the Respondent

  Banks.        Evidence of these transactions is directly relevant to defend against the Foreign

  Defamation Proceedings.

           6.       As set forth in the accompanying declaration of Damian Kelsick, Applicants’

  counsel in St. Kitts and Nevis, attached as Exhibit C, the High Court of Justice in St. Kitts and

  Nevis will be receptive to the evidence sought here and assistance from this Court.




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            7.     Section 1782 permits litigants in foreign proceedings to obtain discovery in the

  United States to assist in the foreign litigation. In particular, § 1782 states:

            The district court of the district in which a person resides or is found may order him
            to give his testimony or statement or to produce a document or other thing for use
            in a proceeding in a foreign or international tribunal, including criminal
            investigations conducted before formal accusation. The order may be made . . .
            upon the application of any interested person and may direct that the testimony or
            statement be given, or the document or other thing be produced, before a person
            appointed by the court.

            8.     The statutory requirements of § 1782 are satisfied here. As explained in the

  accompanying Memorandum of Law: (1) Applicants are “interested person[s]” because they are

  parties to the Foreign Defamation Proceedings; (2) the request seeks documentary evidence;

  (3) the discovery sought is for use in the Foreign Defamation Proceedings; and (4) the Respondent

  Banks are “found” in this District.

            9.     This application also meets the discretionary factors of § 1782, as explained further

  in the accompanying Memorandum of Law: (1) none of the Respondent Banks is a party to either

  of the Foreign Defamation Proceedings; (2) the High Court of Justice in St. Kitts and Nevis likely

  will be receptive to judicial assistance from a U.S. court; (3) Applicants are not attempting to

  circumvent foreign or U.S. proof-gathering restrictions; and (4) the discovery sought is not

  intrusive or burdensome. See Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 264–65

  (2004).

            10.    Applicants therefore respectfully request that this Court expeditiously grant the

  Renewed Application for an Order granting Applicants leave to serve the Respondent Banks with

  the subpoenas attached as Exhibit B.

            WHEREFORE, Applicants respectfully request that this Court:




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                a.        Grant the Renewed Application for an Order Pursuant to 28 U.S.C. § 1782

                to Conduct Discovery for Use in a Foreign Proceeding;

                b.        Enter the Proposed Order attached to this Renewed Application as

                Exhibit A;

                c.        Grant Applicants leave, pursuant to 28 U.S.C. § 1782, to serve the

                subpoenas attached to this Renewed Application as Exhibit B;

                d.        Direct the Respondent Banks to comply with the subpoena issued in this

                case in accordance with the Federal Rules of Civil Procedure and the Rules of this

                Court; and

                e.        Grant any and all other further relief to Applicants as deemed just and

                proper.

                                                      Respectfully submitted,

                                                      MILLER & CHEVALIER CHARTERED

                                                      /s/ Lisandra Ortiz
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                                                      Attorney for the Applicants, Philippe
                                                      Martinez and MSR Media SKN Limited
  Dated: June 14, 2024




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